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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division


   CSX TRANSPORTATION, INC.,
   individually and on behalf
   of Norfolk & Portsmouth Belt
   Line Railroad Company,

                             Plaintiff,
   V.                                                          Civil No. 2:18cv530


   NORFOLK SOUTHERN RAILWAY COMPANY,
   NORFOLK & PORTSMOUTH BELT LINE RAILWAY
   COMPANY,


                             Defendants.




                                   OPINION AND ORDER


         This matter is before the Court on a ''Motion to Dismiss All


   Remaining      Claims    for   Relief,"    filed     by    Defendant    Norfolk    &

   Portsmouth Belt Line Railway Company ("NPBL") on January 9, 2023.

   ECF No. 572.      Defendant Norfolk Southern Railway Company ("NSR,"

   and together with NPBL, "Defendants"), joined in the motion.                    ECF

   No. 574.    In response to an expedited briefing order issued by the

   Court    due     to     the    impending     trial        date.   Plaintiff     CSX

   Transportation,         Inc.   ("CSX")    filed    its     opposition   brief     on

   Thursday, January 12, 2023, and Defendants filed their replies on

   Friday, January 13, 2023.^         On Monday January 16, 2023, a day that




   ^ Though the briefing period was expedited, CSX's opposition brief offers
   the well-reasoned observation, fully joined in by the Court, that it would
   be a waste of resources to proceed to a lengthy antitrust trial on injunctive
   relief only for the Court to hold at the conclusion of trial that CSX lacks
   a federal cause of action.      ECF No. 593, at 3.
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